                                                                                                                                                                                            Page:       1
                                                   Case 8:15-bk-12524-CPM              Doc 40         Filed 04/27/18             Page 1 of 6
                                                                                FORM 1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES
Case No:             15-12524                       CPM    Judge:        Catherine Peek McEwen                        Trustee Name:                      Larry S. Hyman, Chapter 7 Trustee
Case Name:           KOTHA, POORNIMA R                                                                                Date Filed (f) or Converted (c):   12/17/2015 (f)
                     JAWAHARLAL KOTHA                                                                                 341(a) Meeting Date:               01/19/2016
For Period Ending:   03/31/2018                                                                                       Claims Bar Date:                   04/17/2017


                                  1                                     2                            3                             4                          5                             6

                         Asset Description                            Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)               Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                      Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                Exemptions,                                                                               Assets
                                                                                              and Other Costs)

  1. 20617 WHITEBUD COURT                                                   108,996.50                   217,993.00                                                       0.00                        FA
     TAMPA FL 33647-0000 HILLSBOROUGH
  2. 8783 CHRISTIE DRIVE                                                     37,840.50                    75,681.00                                                       0.00                        FA
     LARGO FL 33771-0000 PINELLAS
  3. 7765 75TH WAY NORTH                                                     87,010.00                   174,020.00                                                       0.00                        FA
     PINELLAS PARK FL 33781-0000 PINELLAS
  4. 13126 THOROUGHBRED LOOP                                                 42,291.00                    84,582.00                                                       0.00                        FA
     LARGO FL 33773-0000 PINELLAS
  5. 8876 CHRISTIE DRIVE                                                     37,840.50                    75,681.00                                                       0.00                        FA
     LARGO FL 33771-0000 PINELLAS
  6. 13911 ABBEY LANE                                                        53,578.50                   107,157.00                                                       0.00                        FA
     LARGO FL 33771-0000 PINELLAS
  7. 7383 UNIVERSAL BLVD., UNIT NO.: 110                                     45,966.75                   183,867.00                                                       0.00                        FA
     ORLANDO FL 32819-0000 O
  8. 3 BEDS AND A DAYBED ($235), 2 DRESSERS ($65), 4                          1,752.25                         0.00                                                       0.00                        FA
     NIGHTSTANDS
  9. MIRRORS AND WALL ART ($500.50); PLANTS ($19.50);                             332.50                       0.00                                                       0.00                        FA
     BOOKS ($145
 10. GOLF CLUBS ($40), CAMERAS ($30) AND BICYCLES ($50)                            60.00                       0.00                                                       0.00                        FA
 11. CLOTHING & APPAREL                                                           200.00                       0.00                                                       0.00                        FA
 12. BRACELETS ($25), EARRINGS ($110), RINGS ($60) AND                            275.00                       0.00                                                       0.00                        FA
     COSTUME JE
 13. CASH                                                                         240.00                       0.00                                                       0.00                        FA
 14. BANK OF AMERICA CHECKING (7200) TOTAL BALANCE =                          1,719.12                         0.00                                                       0.00                        FA
     $3,438.23
 15. PNC BANK CHECKING (1827)                                                 2,253.07                         0.00                                                       0.00                        FA
 16. BANK OF AMERICA SAVINGS (9173) TOTAL BALANCE =                           3,284.62                         0.00                                                       0.00                        FA
     $6,569.24
 17. PNC BANK SAVINGS (5761)                                                  1,000.02                         0.00                                                       0.00                        FA
 18. PNC BANK SAVINGS (9368)                                                  8,860.71                         0.00                                                       0.00                        FA
                                                                                                                                                                                           Page:       2
                                                    Case 8:15-bk-12524-CPM             Doc 40         Filed 04/27/18            Page 2 of 6
                                                                                 FORM 1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES
Case No:              15-12524                       CPM    Judge:        Catherine Peek McEwen                      Trustee Name:                      Larry S. Hyman, Chapter 7 Trustee
Case Name:            KOTHA, POORNIMA R                                                                              Date Filed (f) or Converted (c):   12/17/2015 (f)
                      JAWAHARLAL KOTHA                                                                               341(a) Meeting Date:               01/19/2016
For Period Ending:    03/31/2018                                                                                     Claims Bar Date:                   04/17/2017


                                   1                                     2                           3                            4                          5                             6

                          Asset Description                            Petition/               Est Net Value              Property Formally             Sale/Funds                     Asset Fully
              (Scheduled and Unscheduled (u) Property)               Unscheduled           (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                       Values               Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                Exemptions,                                                                              Assets
                                                                                              and Other Costs)

 19. WELLS FARGO CHECKING (6878) TOTAL BALANCE =                                    5.24                      0.00                                                       0.00                        FA
     $10.47
 20. WELLS FARGO CHECKING (7579) TOTAL BALANCE =                                    9.19                      0.00                                                       0.00                        FA
     $18.37
 21. WELLS FARGO BUSINESS CHECKING (2599) *LEFTOVER                                21.76                      0.00                                                       0.00                        FA
     CHECKING ACCO
 22. BUSINESS CHECKING HELD BY BANK OF AMERICA                                      0.05                      0.00                                                       0.00                        FA
     (7242) TOTAL BALAN
 23. BARE LEGAL TITLE: CUSTODIAL ACCOUNT HELD BY PNC                                0.00                      0.00                                                       0.00                        FA
     BANK (7634)
 24. HSA ACCOUNT HELD BY STERLING                                              6,854.39                       0.00                                                       0.00                        FA
 25. BARE LEGAL TITLE: CUSTODIAL ACCOUNT HELD BY PNC                                0.00                      0.00                                                       0.00                        FA
     BANK (7642)
 26. BARE LEGAL TITLE: CUSTODIAL ACCOUNT HELD BY PNC                                0.00                      0.00                                                       0.00                        FA
     BANK (7669)
 27. BARE LEGAL TITLE: CUSTODIAL ACCOUNT HELD BY PNC                                0.00                      0.00                                                       0.00                        FA
     BANK (0892)
 28. MOSAIC PROPERTIES, LLC; ASSETS = COMPUTER                                      0.00                      0.00                                                       0.00                        FA
     ($300); TABLETS (
 29. FIDELITY ROTH IRA ACCOUNT                                                 9,808.00                       0.00                                                       0.00                        FA
 30. 401K                                                                    113,469.00                       0.00                                                       0.00                        FA
 31. 401(K)                                                                   92,510.00                       0.00                                                       0.00                        FA
 32. IRA                                                                      13,794.00                       0.00                                                       0.00                        FA
 33. ANNUITY HELD BY FIDELITY ($13,500)                                        6,750.00                       0.00                                                       0.00                        FA
 34. ANNUITY HELD BY LINCOLN FINANCIAL ($22,000)                              11,000.00                       0.00                                                       0.00                        FA
 35. ANNUITY HELD BY METLIFE ($134,500)                                       67,250.00                       0.00                                                       0.00                        FA
 36. ANNUITY HELD BY PRUDENTIAL ($34,000)                                     17,000.00                       0.00                                                       0.00                        FA
 37. AAA TERM LIFE POLICY (SPOUSE IS INSURED; DEATH                                 0.00                      0.00                                                       0.00                        FA
     BENEFIT OF $2
                                                                                                                                                                                                       Page:       3
                                                      Case 8:15-bk-12524-CPM                      Doc 40         Filed 04/27/18             Page 3 of 6
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              15-12524                         CPM            Judge:        Catherine Peek McEwen                        Trustee Name:                      Larry S. Hyman, Chapter 7 Trustee
Case Name:            KOTHA, POORNIMA R                                                                                          Date Filed (f) or Converted (c):   12/17/2015 (f)
                      JAWAHARLAL KOTHA                                                                                           341(a) Meeting Date:               01/19/2016
For Period Ending:    03/31/2018                                                                                                 Claims Bar Date:                   04/17/2017


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 38. MUTUAL OF OMAHA TERM LIFE POLICY (DEBTOR IS                                               0.00                       0.00                                                       0.00                        FA
     INSURED; DEATH B
 39. GROUP UNIVERSAL LIFE TERM LIFE POLICY (SPOUSE IS                                          0.00                       0.00                                                       0.00                        FA
     INSURED; DE
 40. AAA TERM LIFE POLICY (DEBTOR IS INSURED; DEATH                                            0.00                       0.00                                                       0.00                        FA
     BENEFIT OF $2
 41. LINCOLN BENEFIT TERM LIFE POLICY (DEBTOR IS                                               0.00                       0.00                                                       0.00                        FA
     INSURED; DEATH B
 42. UL MUTUAL OF OMAHA WHOLE LIFE POLICY (SPOUSE IS                                           0.00                       0.00                                                       0.00                        FA
     INSURED; DEA
 43. UL MUTUAL OF OMAHA WHOLE LIFE POLICY (TJ KOTHA                                            0.00                       0.00                                                       0.00                        FA
     IS INSURED; D
 44. UL MUTUAL OF OMAHA WHOLE LIFE POLICY (DEBTOR IS                                           0.00                       0.00                                                       0.00                        FA
     INSURED; DEA
 45. MUTUAL OF OMAHA TERM LIFE POLICY (SPOUSE IS                                               0.00                       0.00                                                       0.00                        FA
     INSURED; DEATH B
 46. GROUP UNIVERSAL LIFE TERM LIFE POLICY (DEBTOR IS                                          0.00                       0.00                                                       0.00                        FA
     INSURED; DE
 47. TERM LIFE INSURANCE POLICY HELD BY BANNER LIFE                                            0.00                       0.00                                                       0.00                        FA
     INSURED: POOR
 48. OFFICE SUPPLIES AND TABLET                                                                0.00                       0.00                                                       0.00                        FA
 49. CREDIT BALANCE WITH CITY OF TAMPA UTILITIES                                           1,054.70                       0.00                                                       0.00                        FA
 50. CREDIT BALANCE WITH TAMPA ELECTRIC                                                       98.54                       0.00                                                       0.00                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $773,125.91              $918,981.00                                                      $0.00                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                                Page:   4
                                                    Case 8:15-bk-12524-CPM
file merged with spouse,(ADMINISTRATIVELY CONSOLIDATED WITH 8:15-bk-10426-CPM
                                                                                             Doc 40         Filed 04/27/18           Page 4 of 6
3/31/17 This case is being jointly administered with Husband's case. POC bar date in this case runs on 4/17/17. Once claims bar date runs, TFR will be filed.

4/21/17 Communications with C Burnette UST re: case issues involving consolidation with 8:15-bk-10426-CPM

5/1/17 Add'l communications with C Burnette UST re: case issues involving consolidation with 8:15-bk-10426-CPM

5/4/17 Meet with C Burnette. Determine that cases must be de-consolidated and administered separately 8:15-bk-10426-CPM

6/21/17 Begin process of determining what assets, and resulting cash from liquidation, belong to each estate 8:15-bk-10426-CPM

8/7/17 Complete process of determining what assets, and resulting cash from liquidation, belong to each estate 8:15-bk-10426-CPM

8/21/17 Begin drafting of pleading to separate cases so they can be administered separately 8:15-bk-10426-CPM




Initial Projected Date of Final Report (TFR): 05/30/2017          Current Projected Date of Final Report (TFR): 09/30/2017

Trustee Signature:      /s/ Larry S. Hyman, Chapter 7 Trustee        Date: 04/27/2018
                        Larry S. Hyman, Chapter 7 Trustee
                        P.O. Box 18625
                        Tampa, FL 33679
                        (813) 875-2701
                                                                                                                                                                                       Page:           1
                                                   Case 8:15-bk-12524-CPM            Doc 402 Filed 04/27/18 Page
                                                                                      FORM                                               5 of 6
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-12524                                                                                      Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: KOTHA, POORNIMA R                                                                                  Bank Name:
                    JAWAHARLAL KOTHA                                                                       Account Number/CD#:


  Taxpayer ID No:                                                                                 Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                     Separate Bond (if applicable):


       1                2                          3                                          4                                                  5                  6                     7

Transaction Date    Check or            Paid To / Received From                  Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                Code                                                         ($)
                                No Bank Accounts



                                                                                                     COLUMN TOTALS                                   $0.00                $0.00
                                                                                                           Less: Bank Transfers/CD's                 $0.00                $0.00
                                                                                                     Subtotal                                        $0.00                $0.00
                                                                                                           Less: Payments to Debtors                 $0.00                $0.00
                                                                                                     Net                                             $0.00                $0.00




                                                                            Page Subtotals:                                                          $0.00                $0.00
                                                                                                                                                                       Page:     2
                                            Case 8:15-bk-12524-CPM                   Doc 40   Filed 04/27/18     Page 6 of 6


                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                   NET             ACCOUNT
                                                                                                                NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                    -                                                                      $0.00                  $0.00                 $0.00
                                                                                                                           $0.00                  $0.00                 $0.00

                                                                                                               (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                       transfers)            to debtors)
                                                   Total Allocation Receipts:                       $0.00
                                                   Total Net Deposits:                              $0.00
                                                   Total Gross Receipts:                            $0.00



Trustee Signature:   /s/ Larry S. Hyman, Chapter 7 Trustee   Date: 04/27/2018

                     Larry S. Hyman, Chapter 7 Trustee
                     P.O. Box 18625
                     Tampa, FL 33679
                     (813) 875-2701




                                                                           Page Subtotals:                                            $0.00                $0.00
